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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 TIMOTHY KING, et al.,

             Plaintiffs,

 v.

 GRETCHEN WHITMER, et al.,                          Civil Case No. 20-13134
                                                    Honorable Linda V. Parker
             Defendants.,

 and

 CITY OF DETROIT,
 DEMOCRATIC NATIONAL COMMITTEE,
 MICHIGAN DEMOCRATIC PARTY,
 and ROBERT DAVIS,

           Intervenor-Defendants.
 _____________________________________/

                             OPINION AND ORDER

       On August 25, 2021, this Court issued a decision granting motions for

 sanctions filed by Michigan Governor Gretchen Whitmer, Michigan Secretary of

 State Jocelyn Benson, and the City of Detroit. (ECF No. 172.) In that decision,

 the Court found sanctions warranted under Federal Rule of Civil Procedure

 11(b)(1), (2), and (3), 28 U.S.C. § 1927, and the Court’s own inherent authority.

 (See, e.g., id. at Pg ID 6893-94.) The sanctions imposed included an award of the

 attorneys’ fees and costs Governor Whitmer, Secretary of State Benson, and the
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 City of Detroit “incurred to defend this action.”1 (See, e.g., ECF No. 172 at Pg ID

 6996.) The Court ordered counsel for Governor Whitmer and Secretary of State

 Benson (hereafter “State Defendants”) and counsel for the City of Detroit (“City”)

 to submit time and expense records within fourteen days of the decision. (Id. at Pg

 ID 6998.) The Court permitted Plaintiffs’ counsel to submit objections to the

 requested amounts within fourteen days of those filings. (Id.)

       On September 8, 2021, the State Defendants filed documentation requesting

 a fee award of $21,964.75. (ECF No. 173 at Pg ID 7002.) This amount reflects

 the work of two attorneys: Heather Meingast and Erik Grill, both employed by the

 Michigan Attorney General’s Office. Ms. Meingast worked a total of 38.55 hours

 on this matter and seeks to be compensated at an hourly rate of $395. (ECF No.

 173-2.) Mr. Grill worked a total of 19.25 hours on this matter and seeks to be

 compensated at an hourly rate of $350. (ECF No. 173-3.)

       On the same date, the City filed documentation asking the Court to award it

 fees totaling $182,192. (ECF No. 174-1 at Pg ID 7025.) This amount is comprised



 1
   Additionally, the Court referred counsel to the Michigan Attorney Grievance
 Commission and the appropriate disciplinary authority for the jurisdiction(s) where
 each attorney is admitted for investigation and possible suspension or disbarment
 and ordered Plaintiffs’ counsel to complete at least twelve (12) hours of continuing
 legal education in the subjects of pleading standards (at least six hours total) and
 election law (at least six hours total) within six months of the decision.

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 of $39,999 for work “defending [this action] at the trial court level”; $26,077 in

 charges related to appellate work; and $116,116 for work related to the motions for

 sanctions. (Id.) The amount expended reflects work performed by three partners

 at the law firm of Fink Bressack (David Fink, the late Darryl G. Bressack, and

 Nathan Fink), three associate attorneys (Dave Bergh, John Mack, and Glenn

 Gayer), and a law clerk (Patrick J. Masterson). (Id. at Pg ID 7023.) Fink Bressack

 charged the City the following reduced blended hourly rates for these individuals:

 $325 for partners, $225 for associates, and $75 for law clerks and legal assistants.

 (Id.) According to David Fink, the firm agreed to discount its fees by an additional

 ten percent (10%) “because of the unexpectedly large volume of work involved in

 the election litigation[.]” (Id.)

        Counsel for Plaintiffs filed objections on September 22, 2021, in which they

 indicate that they take no issue with the State Defendants’ requested award but

 challenge the City’s request on several grounds. (ECF Nos. 175-177.) The Court

 will address each challenge below.2



 2
  Three separate Objections were filed, by: (i) Plaintiffs’ attorneys Scott
 Hagerstrom, Julia Haller, Brandon Johnson, Howard Kleinhendler, Sidney Powell,
 and Gregory Rohl (ECF No. 175); (ii) Plaintiffs’ attorney Emily Newman (ECF
 No. 176); and (iii) Plaintiffs’ attorney L. Lin Wood (ECF No. 177). Many of
 counsel’s arguments overlap, although not all. The Court finds it generally
 unnecessary to identify which arguments are asserted by which attorney(s) but will
 do so in limited circumstances.
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                                 Standards Applied

       “The principal goal of Rule 11 sanctions is deterrence with compensation

 being a secondary goal.” Orlett v. Cincinnati Microwave, Inc., 954 F.2d 414, 419

 (6th Cir. 1992) (citing omitted); see also Fed. R. Civ. P. 11(c)(4) (providing that a

 sanction “must be limited to what suffices to deter repetition of the conduct or

 comparable conduct by others similarly situated.”). The Sixth Circuit has advised:

              [i]n determining an appropriate sanction under amended Rule
              11, the court should consider the nature of the violation
              committed, the circumstances in which it was committed, the
              circumstances (including the financial state) of the individual to
              be sanctioned, and those sanctioning measures that would
              suffice to deter that individual from similar violations in the
              future. The court should also consider the circumstances of the
              party or parties who may have been adversely affected by the
              violation.

 Id. at 420 (citation omitted). “Like the purpose of Rule 11, the goal of 28 U.S.C.

 § 1927 [is] not to make a party whole, but to deter and punish.” Tildon-Jones v.

 Boladian, 581 F. App’x 493, 498 (6th Cir. 2014) (citing Red Carpet Studios Div. of

 Source Advantage, Ltd. v. Sater, 465 F.3d 642, 647 (2006)).

       In comparison, a sanction imposed under the court’s inherent authority must

 be compensatory rather than punitive. Goodyear Tire & Rubber Co. v. Haeger,

 137 S. Ct. 1178, 1186 (2017). Sanctions are “limited to the fees the innocent party

 incurred solely because of the misconduct . . ..” Id. at 1184. “In other words, ‘the

 complaining party may recover only the portion of his fees that he would not have
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 paid but for the misconduct.’” In re Bavelis, 743 F. App’x 670, 676 (6th Cir.

 2018) (ellipsis, brackets, and additional quotation marks removed) (quoting

 Haeger, 137 S. Ct. at 1187).

       The Court awarded the State Defendants and the City their reasonable

 attorneys’ fees. (ECF No. 172 at Pg ID 6996.) The reasonableness of the fees

 requested is assessed using the “lodestar method,” whereby the court multiplies

 “the number of hours reasonably expended on the case by a reasonable hourly

 rate.” See Barnes v. City of Cincinnati, 401 F.3d 729, 745 (6th Cir. 2005); see also

 Hensley v. Eckerhart, 461 U.S. 424, 433 (1983). The lodestar amount is presumed

 to be reasonable. City of Riverside v. Rivera, 477 U.S. 561, 568 (1986). The court

 may reduce the award “[w]here the documentation of hours is inadequate[.]”

 Hensley, 461 U.S. at 433. The Supreme Court has instructed district courts to also

 exclude fees not “reasonably expended,” such as “hours that are excessive,

 redundant, or otherwise unnecessary.” Id. at 434. A court also has the discretion

 to adjust that amount based on “relevant considerations peculiar to the subject

 litigation.” Adcock-Ladd v. Sec’y of Treasury, 227 F.3d 343, 349 (6th Cir. 2000).

                      Fees Expended “Defending this Action”

       As an initial matter, Plaintiffs’ attorneys Emily Newman and L. Lin Wood

 assert that the City is not entitled to a fee award that includes any hours expended

 in connection with the motions for sanctions as those efforts were not made to
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 “defend this action”—the language used in the Court’s sanctions decision.

 Interestingly, the same attorneys do not take issue with the inclusion of the hours

 Ms. Meingast and Mr. Grill expended on sanctions issues, which the State

 Defendants included in their request. In any event, to the extent there is confusion

 as to the Court’s intended meaning, it was to include fees incurred by the City and

 the State Defendants in relation to the motions for sanctions.

                                   Work on Appeal

       In comparison, the Court did not intend to include in its sanction award any

 fees connected to Plaintiffs’ appeal. The Court made clear that it found sanctions

 warranted for the reasons discussed in its decision “and not for any conduct that

 occurred on appeal[.]” (ECF No. 172 at Pg ID 6992 (emphasis added).) Whether

 sanctions should be awarded based on Plaintiffs’ pursuit of this action beyond the

 district court level is a decision for the Sixth Circuit Court of Appeals and/or the

 United States Supreme Court. See Cooter & Gell v. Hartmarx Corp., 496 U.S.

 384, 409 (1990) (concluding that “Rule 11 does not authorize a district court to

 award attorney’s fees incurred on appeal”); In re Cardizem CD Antitrust Litig., 481

 F.3d 355, 362 (6th Cir. 2007) (holding that a district court may not award the cost

 of an appeal as part of its sanctions under 28 U.S.C. § 1927).

       Therefore, the Court is reducing the City’s requested award by the $26,077

 in fees related to the appeal.
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            Disparity Between the State Defendants’ and City’s Fees

       Plaintiffs’ attorneys argue that any award to the City must be reduced

 because the City achieved the same result as the State Defendants, yet its attorneys

 billed five times that of the State Defendants’ counsel. Absent a showing of

 unreasonableness as to any specific hours billed by the City’s attorneys, however,

 the Court is unpersuaded that the City is not entitled to an award based on the

 actual hours its attorneys worked on this matter.

       As an initial matter, Plaintiffs’ attorneys do not point to any caselaw in

 which courts compared the fees charged by counsel on the same side when

 analyzing the reasonableness of one of their requests for attorney’s fees. While the

 parties on one side of an action may have obtained the same result, that does not

 mean the issues focused upon were handled with the same manner or with the

 same depth. Further, there were issues raised by Plaintiffs’ attorneys that

 specifically concerned only the City. Finally, with limited exceptions discussed

 infra, the Court finds the number of hours billed by the City’s counsel unsurprising

 and not excessive given the complexity of the issues involved in this matter, the

 quality of the briefing and arguments presented, and the significance of this

 litigation to our democracy. The City’s briefs were well researched and its lead

 counsel, David Fink, was well prepared to address the varied and sometimes

 unexpected arguments raised at the sanctions hearing.
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                                      Block Billing

       Plaintiffs’ attorneys argue for a reduction in the City’s award due to block

 billing. The Sixth Circuit has held that as long as the description of the work

 performed is adequate, block-billing is not contrary to the award of a reasonable

 attorney fee. The Northeast Ohio Coal. for the Homeless v. Husted, 831 F.3d 686,

 705 n.7 (6th Cir. 2016) (citing Smith v. Serv. Master Corp., 592 F. App’x 363, 371

 (6th Cir. 2014); Pittsburgh & Conneaut Dock Co. v. Dir., Office of Workers’

 Comp. Programs, 473 F.3d 253, 273 (6th Cir. 2007) (Moore, J., concurring in part

 and dissenting in part)). Where counsel engaged in the use of vague block billing,

 however, courts have made across-the-board percentage cuts in the hours billed.

 See, e.g., Gratz v. Bollinger, 353 F. Supp. 2d 929, 939 (E.D. Mich. 2005) (citing

 cases finding a reduction of 10% or 20% in the number of hours billed by counsel

 appropriate due to block billing and imposing a 10% reduction).

       Plaintiffs’ attorneys identify six instances where the City’s counsel engaged

 in block billing. (ECF No. 175 at Pg ID 7103-04.) Plaintiffs’ attorneys assert,

 however, that “[t]he issue with these entries is not block billing; it’s the City’s

 choice to bill an entire day’s work as one entry.” (Id. at Pg ID 7104 (emphasis in

 original).) According to Plaintiffs’ attorneys, this “makes it difficult to determine

 whether the time for discrete tasks was reasonable.” (Id. (citing cases).)


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        Yet the City’s attorneys’ “block” entries are neither vague nor general. But

 cf. Gratz, 353 F. Supp. 2d at 939 (reducing the number of hours billed by counsel

 due to “vague and general entries such as, ‘telephone conference,’ ‘office

 conference,’ ‘research,’ and ‘review article’”). Nor is the use of block billing

 pervasive in their billing records. But cf. Bobrow Palumbo Sales, Inc. v. Broan-

 Nutone, LLC, 549 F. Supp. 2d 274, 283 (E.D.N.Y. 2008) (finding a reduction

 warranted due to the “regular practice” of block billing by almost all of the

 defendant’s attorneys and legal assistants with the “most egregious offenders”

 block billing on more than 61 occasions); Report & Recommendation, Potter v.

 Blue Cross Blue Shield of Mich., No. 10-cv-14981 (E.D. Mich. Jan. 30, 2014),

 ECF No. 167 at Pg ID 15470 (finding “numerous instances of block billing, which

 also were vague), adopted in 10 F. Supp. 3d 737 (E.D. Mich. 2014). While it may

 have been preferable for counsel to have separately listed the tasks completed and

 the amount of time each task required, the City should be fully reimbursed for fees

 charged for the work its attorneys expended where the Court is able to assess

 whether the total time is reasonable given the number of tasks completed. As the

 Court is able to do so, it declines to reduce the requested award due to block

 billing.




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                                 Vague or Duplicative Entries

        An attorney’s billing records must “describe the work performed in

  sufficient detail to establish that the work is reasonably related to the litigation.”

  Gratz, 353 F. Supp. 2d at 939 (emphasis in original and brackets removed)

  (quoting In re Samuel R. Pierce, 190 F.3d 586, 593-94 (D.C. Cir. 1999)).

  Plaintiffs’ attorneys assert that “a number of [the City’s attorneys’ billing] entries

  are too vague to determine how they relate to this case”, although Plaintiffs’

  attorneys identify only one entry for 1.25 hours on November 28, 2020. (ECF No.

  175 at Pg ID 7105-06 (quoting ECF No. 174-1 at Pg ID 7029).) Having reviewed

  the City’s attorneys’ billing records, the Court does not find entries, including the

  one identified, to be so insufficiently detailed that they fail to reflect “that the work

  was reasonably related to the litigation.”3

        Plaintiffs’ attorneys also seek a reduction because more than one attorney

  billed for the same activities. As the Sixth Circuit has stated, however,

  “[m]ultiple-lawyer litigation is common and not inherently unreasonable.”

  Northeast Ohio Coalition for the Homeless, 831 F.3d at 704 (citations omitted).



  3
   Two entries have short descriptions: (i) a 12/1/20 entry by David Fink for “review
  of filings in King v. Whitmer” (ECF No. 174-1 at Pg ID 7033) and (ii) a 12/4/20
  entry by Darryl Bressack for “review of Order from Judge Parker” (id. at Pg ID
  7038). Nevertheless, the work clearly was “related to the litigation” and a review
  of the docket reflects the “filings” and “order” to which the attorneys refer.
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  The Sixth Circuit also has stated, however, that while “multiple representation can

  be productive . . . there is also the danger of duplication, a waste of resources

  which is difficult to measure.” Id. (quoting Coulter v. State of Tenn., 805 F.2d

  146, 152 (6th Cir. 1986)). Where duplicative efforts are not reasonable, the court

  may make across-the-board reductions of the hours billed. Coulter, 805 F.2d at

  152.

         Plaintiffs’ attorneys identify only four instances where the billing records of

  the City’s attorneys reflect duplicative efforts: (i) review of the Complaint by four

  attorneys (ECF No. 174-1 at Pg Id 7027-28); (ii) review of the Amended

  Complaint by three attorneys (id. at Pg ID 7030-31); (iii) reviewing and revising

  the City’s Supplemental Brief in Support of Sanctions by two attorneys (id. at Pg

  ID 7094); and (iv) reviewing and preparing the City’s response to Plaintiffs’

  attorneys’ supplemental briefs regarding sanctions (id. at Pg ID 7095). But this

  was a complex case which, by Plaintiffs’ account, needed to be resolved rapidly.

  Plaintiffs’ Complaint, along with attached exhibits, exceeded 800 pages. (See ECF

  No. 1.) Their Amended Complaint, with exhibits, exceeded 900 pages. (See ECF

  no. 6.) The length of the pleadings alone justifies the contribution of multiple

  attorneys to sort through Plaintiffs’ allegations. Moreover, all attorneys defending

  a case need to be familiar with the pleadings to adequately assist in the litigation.


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  It was not unreasonable, particularly given the complexity and significance of the

  litigation, for more than one attorney to prepare and draft briefs.

        The number of attorneys billing for these discrete tasks does not warrant a

  reduction in the City’s sanction award.

                                 “Non-Compensable” Hours

        Plaintiffs’ attorneys maintain that the time counsel for the City spent on

  “public relations efforts” and reading the news should be deducted from the fee

  award. Plaintiffs’ attorneys point to: (i) 6.25 hours billed by Darryl Bressack on

  November 26, 2020 (ECF No. 174-1 at Pg ID 7027); .75 hours billed by Nathan

  Fink on December 5 (id. at Pg ID 7039); and 2.75 hours billed by David Fink on

  January 3, 2021 (id. at Pg ID 7055). None of these hours reflect “public relations

  efforts.” Instead, the first and second reflect time counsel spent reviewing media

  reports and news articles about the lawsuit. The last reflects time spent reviewing

  a transcript from a telephone call related to the efforts by former President Trump

  to overturn the election results in Georgia on the basis of alleged fraud. Notably,

  none of the entries are only for these tasks.

        There are other instances where the City’s attorneys billed to review

  newspaper articles and social media posts related to this case or similar election

  fraud cases, including some filed by Plaintiffs’ attorneys.


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          • 11/26/20: 3.75 hours billed by David Fink in part for “review of
            media reports regarding King lawsuit (see, e.g., id. at Pg ID 7027);

          • 12/4/20: 4 hours billed by David Fink in part for “review of
            newspaper and magazine articles about Mr. Braynard” (id. at Pg ID
            7037);

          • 12/5/20: .75 hours billed by Nathan Fink in part for “review of news
            articles regarding pending cases in Michigan and in other states” (id.
            at Pg ID 7039);

          • 1/7/21: 1 hour billed by David Fink in part for “review of media
            reports regarding incitement by opposing counsel (id. at Pg ID 7057);

          • 1/28/21: 3.75 hours billed by David Fink and 5 hours billed by Darryl
            Bressack in part for “[r]eview of American lawyer article . . .; review
            of tweets from Lin Wood; review of social media postings that
            connect attorneys in Detroit litigation to Capitol mob” (id. at Pg ID
            7058-59);

          • 1/21/21: 1.5 hours billed by Glen Gayer for “[r]eview of social media
            screenshots regarding [City]’s Reply in Support of Motion for
            Sanctions; emails to [Darryl Bressack] regarding same” (id. at Pg ID
            7065);

          • 1/27/21: 1.5 hours billed by Glen Gayer in part for “[r]esearch
            regarding plaintiff’s social media posts; email to [David Fink and
            Nathan Fink] regarding same (id. at Pg ID 7068);

          • 5/20/21: .75 hours billed by David Fink in part for “review of
            Washington Post article regarding Ms. Junttila’s public statements”
            (id. at Pg ID 7080);

          • 6/24/21: .25 hours billed by Nathan Fink in part for “review of media
            reports regarding [preparing for hearing regarding Motion for
            Sanctions] (id. at Pg ID 7084);



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            • 7/19/21: 2.25 hours billed by David Fink in part for “review of recent
              Telegram postings by Lin Wood referring to [David Fink]; review of
              media reports regarding sanctions (id. at Pg ID 7091);

            • 7/23/21: 2.5 hours billed by David Bergh in part for “review of
              Plaintiffs’ counsel’s social media posts (id. at Pg ID 7092); and

            • 8/5/21: 2 hours billed by David Fink for “[r]eview and response to
              media inquiries (id. at Pg ID 7096).

        Time spent on media-related matters might be compensable if necessary for

  the defense or prosecution of the lawsuit. See Potter, 10 F. Supp. 3d at 750 (citing

  cases). With the exception of one billing entry, however, the City’s attorneys’

  media-related tasks were not for the purpose of dispensing information to the

  public about this lawsuit. Instead, the attorneys were gathering information

  relevant to their defense of Plaintiffs’ claims and the motives of Plaintiffs and their

  attorneys in prosecuting this lawsuit, the latter being relevant to the City’s request

  for sanctions. Reviewing newspaper articles and media posts, which were

  additional forums Plaintiffs’ attorneys used to advance their agenda, was necessary

  to present counsel’s improper motive and purpose in filing this lawsuit (see ECF

  No. 172 at Pg ID 6983-84). It also uncovered information useful to undermine

  Plaintiffs’ asserted facts and to demonstrate some of the bad faith conduct found in

  the Court’s August 25 decision (e.g., information undermining Joshua Merritt’s

  purported expertise and showing that such information was or should have been

  known by Plaintiffs’ counsel) (ECF No. 172 at Pg ID 6986-88.)
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          The Court finds such efforts to be compensable.

          The one exception is David Fink’s August 5, 2021 billing for “[r]eview and

  response to media inquiries.” (ECF No. 174-1 at Pg ID 7096.) By that date, the

  City had filed its motion for sanctions and related supplemental briefing, the

  motion hearing had been held, and there was nothing to do but await the Court’s

  decision. This is the only entry where counsel was engaged in “public-relations

  efforts.” The Court is excluding those two hours from the sanction award.4

                                        Excessive Billing

          Plaintiffs’ attorneys maintain that certain hours billed by the City’s attorneys

  are unreasonable, such as the half hour billed on December 1 to read a motion

  containing three substantive pages and a text-only order (ECF No. 174-1 at Pg ID

  7034) and two and a half hours billed on December 23 to review the City’s own

  brief the day after it was filed (id. at Pg ID 7052). However, an attorney’s

  “review” of a motion and court order—even if only a text-only order—does not

  necessarily describe only reading it. The Court does not find the time billed on

  December 1 excessive. Counsel did not bill two and a half hours on December 23

  to only review the City’s motion to dismiss after it was filed. (See ECF No. 174-1

  at Pg ID 7052.) The billing entry also reflects scheduling for the motion and



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      Two hours at an hourly rate of $325, reduced by 10%, or $585.
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  research. Nevertheless, billing for a motion already filed appears unreasonable.

  As the Court is unable to discern the length of time spent on each task in this entry,

  it finds it necessary to remove the total hours from the City’s award.5

          Plaintiffs’ attorney, Emily Newman, asserts that additional hours billed are

  excessive. First she points to the 83.25 hours billed between December 23 to

  January 5, which she argues was mostly for work on the City’s January 5, 2021

  motion for sanctions. Ms. Newman points out that the City already had sought

  sanctions in connection with its motion to dismiss and had the benefit of the

  research completed for that motion, its opposition to Plaintiffs’ motion for

  preliminary injunction, and the Court’s opinion on this latter motion to assist in the

  preparation of its stand-alone sanctions motion.

          The City’s initial request for sanctions, however, relied only on 28 U.S.C.

  § 1927, did not raise most of the arguments subsequently asserted by the City to

  support a sanctions award, and extended over only two and a half pages of the

  City’s brief. (See ECF No. 73 at Pg ID 3576-78.) Many of the issues raised in the

  City’s January 5 motion for sanctions, including the merits of claims on which

  Plaintiffs had not based their request for injunctive relief, were not previously

  presented nor, presumably, researched. Further, the City’s response to Plaintiffs’



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      Two and a half hours at an hourly rate of $225, reduced 10%, or $506.25.
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  motion for an injunction focused on the lawsuit’s legal defects (e.g., standing,

  laches, mootness) rather than the hundreds of pages of “evidence” attached to

  Plaintiffs’ pleadings, which required extensive hours to sort through and address to

  support the City’s request for sanctions under Rule 11. For these reasons, the

  Court does not find the hours expended during this time frame excessive.

        Ms. Newman also objects to the 40.5 hours billed by the City’s attorneys

  between January 27 and February 4, 2021, mostly to prepare the City’s reply brief

  in support of its motion to dismiss and for sanctions. Ms. Newman finds the time

  excessive where the City already filed its stand-alone motion for sanctions which,

  as the Court subsequently indicated, mooted or superseded its earlier request for

  sanctions. (See ECF No. 149 at Pg ID 5267.) Upon reflection, however, the Court

  was mistaken. As indicated, the City’s initial request for sanctions was based on

  § 1927. Its subsequent motion sought sanctions only pursuant to Rule 11. As

  such, it was not unreasonable for the City to continue preparing its reply brief in

  support of its initial motion.

        Ms. Newman next contends that the 40.25 hours billed by the City’s

  attorneys between February 5 and May 20, 2021 are excessive because “[a]s of

  February 5, all claims had been dismissed, and all motions involving the City had

  been fully briefed.” (ECF No. 176 at Pg ID 7120.) The docket undermines Ms.

  Newman’s contentions, however. There were 19 docket entries between those two
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  dates, which included at least five motions, three response briefs, a supplemental

  brief, a reply brief, one notice of joinder/concurrence, and six orders.

        Ms. Newman next takes issue with the 82.75 hours the City’s attorneys

  billed between June 8, 2021—when the Court issued its notice of hearing for the

  motions for sanctions—and July 11, 2021—when the hearing was held. Ms.

  Newman points out that “[t]he only substantive activity [in the case during this

  period] consisted of preparing for the hearing.” (Id.) She also points out that the

  attorneys for the State Defendants billed only 3.5 hours to prepare for the hearing.

        The docket reflects, however, that there was more for the City’s attorneys to

  do during this time period than prepare for the hearing. Specifically, two motions

  were filed and briefed to adjourn the hearing, several attorneys entered their

  appearances on behalf of Plaintiffs’ counsel, the Michigan Senate Oversight

  Committee issued a 55-page report finding no evidence of widespread or

  systematic fraud in the election, a motion was filed and briefed regarding the Court

  taking judicial notice of that report, Plaintiffs’ attorneys moved to not appear in

  person at the hearing, and the Court issued an opinion and order addressing eight

  motions. Further, the amount of time the State Defendants’ attorneys billed for

  their hearing preparation is not a useful measurement of how much time the City’s

  attorneys reasonably spent. Counsel for the City presented most of the arguments


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  on behalf of the movants during oral argument and responded to the numerous

  issues raised. The Court does not find this billing excessive.

        Nor does the Court find the 114.25 hours billed by the City from the date of

  the hearing to August 4 excessive. Ms. Newman attributes all of these hours to the

  City’s preparation of its supplemental briefs. Again, the docket reflects more

  activity after the hearing than that. For example, Plaintiffs’ attorney L. Lin Wood

  had posted a video from the hearing on social media in violation of the Court’s

  local rules, leading to the filing of an emergency motion (ECF No. 151) and a

  show cause order issued by the Court (ECF No. 156). Plaintiffs’ attorneys filed an

  emergency motion asking the Court to publicly release the video. (ECF No. 152.)

  Moreover, Plaintiffs’ attorneys raised many arguments for the first time at the July

  12 hearing in response to the motions for sanctions, many of which related to the

  City’s Rule 11 motion, not the State Defendants’ motion. Additional new

  arguments were made (and even new facts asserted) in Plaintiffs’ counsel’s

  supplemental briefs. Counsel for the City reasonably had to expend time

  responding to these new arguments.

        For these reasons, the Court finds the hours expended by the City’s attorneys

  during this period to be reasonable.




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                               Redactions and Written Revisions

        Numerous entries are redacted from the City’s attorneys’ billing records and

  hand-written changes have been made to some of the hours billed. Plaintiffs’

  attorneys argue that such redactions and revisions inhibit a meaningful review of

  the time entries.

        As an initial matter, the City’s attorneys have not billed for any hours where

  the billing entry is completely redacted.6 Therefore, it is insignificant that

  numerous pages are heavily redacted or that complete entries are concealed. The

  handwritten changes to the hours billed reflect adjustments where limited tasks

  within the entry have been redacted. Presumably counsel has adjusted the time

  originally billed to account for these redacted tasks. The redactions do not prevent

  the Court from assessing the work done or the City’s attorneys’ hand-written entry

  of how long the task took. Contrary to Plaintiffs’ counsel’s assertion, it is not

  difficult to interpret or understand what is claimed by the City’s attorneys and to

  assess its reasonableness.

                               Billing in Quarter-Hour Increments

        Plaintiffs’ attorneys argue for an across-the-board reduction in the hours

  billed by the City’s attorneys due to the latter’s use of quarter-hour billing.


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   Based on the Court’s calculations, the billing entries total 752.50 hours. The
  City’s attorneys actually have based their award on fewer (729) hours.
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        Courts have declined to find the practice of billing in quarter hour

  increments per se unreasonable. See Bench Billboard Co. v. Toledo, 759 F. Supp.

  2d 905, 914 (N.D. Ohio 2010), aff’d in part, rev’d in part, 499 F. App’x 538 (6th

  Cir. 2019) (citing Diffenderfer v. Gomez-Colon, 587 F.3d 445, 455 (1st Cir. 2009);

  Fox v. Vice, 737 F. Supp. 2d 607, 609 (W.D. La. 2010); Winterstein v. Stryker

  Corp. Grp. Life Ins. Plan, No. C 02-05746, 2006 WL 1071884, at *2 (N.D. Cal.

  Apr. 24, 2006)). Nevertheless, in some instances, district courts have imposed

  across-the-board reductions in the hours billed in this manner, reasoning that it is

  “suspect” and “fee enhancing.” See Bench Billboard Co., 759 F. Supp. 2d at 914

  (citing cases and imposing a 7.5% reduction for billing in quarter-hour

  increments); see also Yellow Book USA, Inc. v. Brandeberry, No. 3:10-cv-025,

  2013 WL 2319142, at *8 (S.D. Ohio May 28, 2013); Kelmendi v. Detroit Bd. of

  Educ., No. 12-14949, 2017 WL 1502626, at *21 (E.D. Mich. Apr. 27, 2017)

  (imposing a 5% reduction where the vast majority of the attorneys’ time entries

  were rounded to a half or full hour). In many of those cases, the courts found a

  reduction warranted because the billing records were replete with quarter-and half-

  hour charges for tasks that likely took a fraction of the time (e.g., drafting letters

  and emails, telephone calls, and intra-office conferences). Bench Billboard, 759 F.

  Supp. 2d at 914; Welch v. Metro. Life Ins. Co., 480 F.3d 942, 949 (9th Cir. 2007)

  (affirming the district court’s across-the board reduction for quarter-hour billing
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  where the court found the hours “inflated because counsel billed a minimum of 15

  minutes for numerous phone calls and e-mails that likely took a fraction of the

  time”); Diffenderfer v. Gomez-Colon, 606 F. Supp. 2d 222, 229 (D.P.R.), aff’d 587

  F.3d 445 (1st Cir. 2009) (imposing a reduction where counsel billed by the quarter

  hour for reading each docket entry and “at least fifty similarly menial items”). In

  comparison, district courts have declined to reduce charges due to quarter-hour

  billing where the attorney’s time sheets do not reflect entries equating to menial

  tasks that would require less than fifteen minutes to complete, Brandenberg v.

  Watson, No. 3:10-cv-346, 2011 WL 609796, at *3 (S.D. Ohio Feb. 10, 2011), or

  when the law firm’s regular practice is to bill in this manner, see, Does I, II, III v.

  District of Columbia, 448 F. Supp. 2d 137, 142 (D.D.C. 2006) (collecting cases).

        An across-the-board reduction is inappropriate in this case. When ignoring

  the billing entries for tasks connected to the appeal—which the Court already has

  omitted from the sanctions award—the City’s attorneys’ billing records reflect

  limited instances where a quarter-hour was billed for tasks that likely took a few

  minutes. However, there are 25 instances (notably across 69-pages of billing

  records), reflecting quarter-hour billing for telephone conferences or emails. (See

  ECF No. 174-1 at Pg ID 7038, 7048-49, 7053-54, 7059, 7073, 7074, 7077, 7078,

  7082, 7085, 7088, 7091, 7092.) Four of the entries were billed by an associate,


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  while the remaining entries were billed by partners. The Court therefore will

  reduce the City’s award accordingly—that is, by $1,738.13.

                                        Rates Charged

        Plaintiffs’ attorney L. Lin Wood argues that the $292.50 hourly rate charged

  for Nathan Fink is unreasonable. Mr. Fink was admitted to practice in Michigan in

  2011. Mr. Wood points out that the state bar median rate for lawyers practicing six

  to ten years is only $250. While true, the mean is $285—not far off from the

  amount charged for Mr. Fink. Moreover, the rate charged is below the median

  hourly rate for civil litigators ($305), attorneys practicing in downtown Detroit

  ($308), and attorneys practicing in Wayne County ($295). Lastly, this is a blended

  rate for all partners, with the remaining two having many more years of experience

  and for whom a higher hourly rate presumably would have been charged.

                         Fees Related to the Motions for Sanctions

        Plaintiffs’ attorneys (except Ms. Newman and Mr. Wood as indicated supra)

  do not contest the City’s request for an award that includes the fees related to its

  motions for sanctions; however, they do challenge the amount requested as being

  disproportional to the fees incurred to defend Plaintiffs’ claims. Plaintiffs’

  attorneys cite to decisions advising that sanctions “should primarily reflect fees

  incurred as a result of the offensive pleading” (ECF No. 175 at Pg ID 7108)

  (quoting Kassab v. Aetna Indus., Inc., 265 F. Supp. 2d 819, 824 (E.D. Mich.
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  2003)), or “which directly resulted from the sanctionable conduct” (ECF No. 177

  at Pg ID 7126 (quoting Divane v. Krull Elec. Co., 319 F.3d 307, 314 (7th Cir.

  2003)). This case is not that straightforward.

        Here, sanctions were not imposed based solely on a single offensive filing.

  Nor were sanctions imposed only on the authority of Rule 11. The Court has

  found sanctions warranted pursuant to its inherent authority, as well as under

  § 1927 because Plaintiffs’ counsel unreasonably and vexatiously multiplied the

  proceedings.

        As this Court opened its sanctions decision, “[t]his lawsuit represents a

  historic and profound abuse of the judicial process” and an attempt to “deceiv[e] a

  federal court and the American people into believing that rights were infringed,

  without regard to whether any laws or rights were in fact violated.” (Op. & Order

  at 1, ECF No. 172 at Pg ID 6890). Plaintiffs’ attorneys filed this lawsuit without

  conducting the required degree of diligence as to the truth of the allegations made

  or the merits of the legal claims asserted. Unlike the typical case where sanctions

  are awarded, more was at risk in this matter than one or even a few defendants

  having to defend a meritless, repetitive, and/or nuisance lawsuit. Plaintiffs’

  counsel “exploited their privilege and access to the judicial process” to file a

  lawsuit that threatened to undermine the results of a legitimately conducted


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  national election and, more significantly, “the People’s faith in our democracy.”

  (Id. at 2-3, Pg ID 6891-92 (emphasis removed).)

        In this litigation, “Plaintiffs’ attorneys . . . scorned their oath, flouted the

  rules, and attempted to undermine the integrity of the judiciary along the way.”

  (Id. at 4, Pg ID 6893.) And even after this Court issued its decision finding

  Plaintiffs’ claims barred under multiple legal theories, their counsel “brazenly

  assert[ed] that they ‘would file the same complaints again.’” (ECF No. 172 at Pg

  ID 6989) (quoting ECF No. 157 at Pg ID 5534).) “[Plaintiffs’ attorneys] ma[de]

  this assertion even after witnessing the events of January 6 and the dangers posed

  by narratives like the one counsel crafted here.” (Id.) The Court found sanctions

  necessary to deter such dangerous behavior in the future. For these reasons, it was

  perhaps as important for the City’s counsel to prepare and present their arguments

  for sanctions in response to such conduct as it was to present the City’s defenses to

  Plaintiffs’ claims.

        To outline the appropriateness of sanctions in this case, counsel had to

  address facts and issues not previously briefed extensively or, in some instances, at

  all. And as the Court’s 110-page opinion and order granting the sanctions motions

  suggests, demonstrating the frivolity of the facts asserted in Plaintiffs’ pleadings,

  outlining the applicable law regarding the award of sanctions under Rule 11,

  § 1927, and the Court’s inherent authority, and applying that law to the
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  circumstances here required a significant amount of time. As did responding to

  Plaintiffs’ attorneys’ constantly shifting arguments and frivolous assertions made

  and even repeated after being shut down by the Court (e.g., counsel’s argument

  that the First Amendment precluded the imposition of sanctions for their conduct

  in this litigation). The number of hours expended by the City’s attorneys to do so

  is not unreasonable.

        The Court therefore rejects the objections asserted by Plaintiffs’ counsel to

  the sanctions-related fees.

                                       Conclusion

        Plaintiffs’ counsel does not identify, nor does the Court find, a reason to

  adjust the $21,964.75 fee award sought by the State Defendants. While the Court

  finds merit to some of Plaintiffs’ attorneys’ objections to the $182,192 award

  sought by the City’s attorneys, it rejects most of them. For the reasons discussed

  above, the Court reduces the City’s award by $28,906.38. An award to the City of

  $153,285.62 is an appropriate sanction for the conduct discussed in the Court’s

  August 25 decision, and is an amount the Court finds needed to deter Plaintiffs’

  counsel and others from engaging in similar misconduct in the future. Plaintiffs’

  attorneys, many of whom seek donations from the public to fund lawsuits like this

  one, see https://defendingtherepublic.org/, have the ability to pay this sanction.

        Accordingly,
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        IT IS ORDERED that Plaintiffs’ attorneys Sidney Powell, L. Lin Wood,

  Howard Kleinhendler, Gregory Rohl, Stefanie Lynn Junttila, Emily Newman, Julia

  Z. Haller, Brandon Johnson, and Scott Hagerstrom, jointly and severally, are to pay

  the following amounts as sanctions within 30 days of this Opinion and Order:

        1)    To Defendants Gretchen Whitmer and Jocelyn Benson, the sum of

  $21,964.75; and,

        2)    To the City of Detroit, the sum of $153,285.62.

        IT IS FURTHER ORDERED that if any party appeals this Opinion and

  Order or the Court’s August 25, 2021 decision, the obligation to pay the above

  sanctions is STAYED pending resolution of all appeals.

        IT IS SO ORDERED.

                                               s/ Linda V. Parker
                                               LINDA V. PARKER
                                               U.S. DISTRICT JUDGE
   Dated: December 2, 2021




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